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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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VICTORIA MALONE, :
Plaintiff,
-against-
: STIPULATION AND
THE TOWN OF CLARKSTOWN, WAYNE : PROTECTIVE ORDER

BALLARD, in his personal and official capacity as :
Clarkstown Highway Superintendent, FRANK :
DIZENZO, in his personal and official capacity as
Clarkstown Highway Superintendent, ANDREW :
LAWRENCE, in his personal and official capacity, :
DAVID SALVO, in his personal and official :
capacity, ROBERT KLEIN, in his personal and
official capacity, TUCKER CONNINGTON, in his
personal and official capacity, and BRIAN LILLO,
in his personal and official capacity,

  
 

 

 

 

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Defendants.

WHEREAS, the Parties having agreed to the following terms of confidentiality, and
the Court having found that good cause exists for the issuance of an appropriately
tailored confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil
Procedure, it is hereby

ORDERED that the following restrictions and procedures shall apply to the
information and documents exchanged by the parties in connection with the pre-
trial phase of this action:

1. Counsel for any party may designate any document or information, in
whole or in part, as confidential if counsel determines, in good faith, that
such designation is necessary to protect the interests of the client in
information that is proprietary, a trade secret or otherwise sensitive non-
public information such as personnel files of current and former employees
and related documents, compensation and benefits of current and former
employees, medical and mental health information, and other non-public
Town documents. Information and documents designated by a party as
confidential will be stamped “CONFIDENTIAL.”

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2, The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.

3. Deposition testimony concerning any Confidential Materials that reveals
the contents of such materials shall be deemed Confidential within the
meaning of this Stipulation and Protective Order, and the transcript of
such testimony, together with any exhibits which contain Confidential
Materials referred to therein, shall be marked “CONFIDENTIAL.”

4. Inthe event a party challenges another party's designation of
confidentiality, counsel shall make a good faith effort to resolve the dispute,
and in the absence of a resolution, the challenging party may seek
resolution by the Court. Nothing in this Protective Order constitutes an
admission by any party that Confidential Information disclosed in this case
is relevant or admissible. Each party reserves the right to object to the use
or admissibility of the Confidential Information.

5. The parties should meet and confer if any production requires a designation
of “For Attorneys’ or Experts’ Eyes Only.” All other documents designated
as “CONFIDENTIAL” shall not be disclosed to any person, except:

a. The requesting party and counsel, including in-house counsel;

b. Employees of such counsel assigned to and necessary to assist in the
litigation:

c. Consultants or experts assisting in the prosecution or defense of the

matter, to the extent deemed necessary by counsel; and

d. The Court (including the mediator, or other person having access to any
Confidential Information by virtue of his or her position with the Court).

6. Before disclosing or displaying the Confidential Information to any person,
counsel must:

a. Inform the person of the confidential nature of the information or
documents;

b. Inform the person that this Court has enjoined the use of the
information or documents by him/her for any purpose other than this
litigation and has enjoined the disclosure of the information or
documents to any other person; and

c. Require each such person from category 4(c) above to sign an agreement
to be bound by this Order in the form attached hereto.
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The disclosure of a document or information without designating it as
“confidential” shall not constitute a waiver of the right to designate such
document or information as Confidential Information. If so designated, the
document or information shall thenceforth be treated as Confidential
Information subject to all the terms of this Stipulation and Order.

The producing party shall redact any Personally Identifying Information
(“PIT”) (e.g., social security numbers, financial account numbers, passwords,
and information that may be used for identity theft) prior to production.
Any PII exchanged in discovery shall be maintained by the receiving party
in a manner that is secure and confidential.

Pursuant to Federal Rule of Civil Procedure 502, inadvertent disclosure of
privileged communications shall not constitute a waiver of the privilege in
this matter provided the parties follow the steps set forth in Rule 502.

Notwithstanding the designation of information as “confidential” in |
discovery, there is no presumption that such information shall be filed with
the Court under seal. All Confidential Materials filed with the Court may
be redacted or filed under seal only as set forth below:

a. To avoid the unnecessary filing of documents under seal, counsel for the
parties will discuss, in good faith, the need to file Confidential Materials
under seal. If the parties agree in writing that a particular document
that has been designated Confidential Material shall not be filed under
seal, that document can be filed without redaction and such filing will
not be a breach of any Stipulation of Confidentiality.

 

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material to issues addressed in Cou s and the parties agree
that the re ion of persenal, confidential and/or identifying
information wouldbe s ient to protect the interests of parties or non-

parties; the parties may file redacte Socuments without further vrder

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c, Any party wishing to redact Confidential Information from any Court
submission, based on the party’s designation of information as
Confidential, must make a specific request to the Court in accordance
with the applicable court rules. If a request for redactions is based on
another party’s designation of information as Confidential, the parties
shall confer and jointly submit the request for redactions. Upon
obtaining leave of the Court to file documents under seal, the
Confidential Materials will be filed in accordance with the Court’s
procedures for E-filing sealed documents in civil cases.
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At the conclusion of litigation, Confidential Information and any copies
thereof shall be promptly (and in no event later than 30 days after entry of
final judgment no longer subject to further appeal) returned to the
producing party or certified as destroyed, except that the parties’ counsel
shall be permitted to retain their working files on the condition that those
files will remain protected.

Nothing in this Stipulation and Protective Order shall be construed to limit
the producing party’s use of the Confidential Information produced by the
producing party in any manner.

Nothing in this Stipulation and Protective Order shall be construed to
preclude any party from seeking, either by Stipulation or by Order of the
Court, the protection of this Order for other materials reasonably deemed
to be Confidential Information or otherwise appropriate for confidential
treatment.

This stipulation may be executed in counterparts.

A facsimile or electronic signature on this Stipulation and Protective Order
shall have the same effect as an original signature.

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SO STIPULATED AND AGREED.

Dated: White Plains, New York
December 28, 2019

 

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SO STIPULATED AND AGREED.

Dated: White Plains, New York
December 23, 2019

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SO STIPULATED AND AGREED.

Dated: White Plains, New York

December 23, 2019

 

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SO ORDERED:

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Hon. Vincent L. Briccetti
United States District Judge

Attorneys for Defendant Brian Lillo

 
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Agreement

I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled have been designated as
confidential. I have been informed that any such documents or information labeled
“CONFIDENTIAL” are confidential by Order of the Court.

I hereby agree that I will not disclose any information contained in such documents
to any other person. I further agree not to use any such information for any purpose
other than this litigation. I further agree to return or destroy any copies (including
electronic copies) of documents containing Confidential Information in accordance
with the paragraph 11 of the Stipulation and Protective Order.

Dated:

 

Signed in the presence of:

 

(Attorney)
